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AO 440 (Rev. 06/12) Summons in a Civil Action

_ UNITED STATES DISTRICT COURT
ORIGINAL vise Mai
United States Department of Agriculture
Plaintiff(s)

v.
DEBRA A LAMONDA

Civil Action No. 1:25-cv-00196-JAW

Defendant(s)
SUMMONS IN A CIVIL ACTION
To: (Defendant’s name and address}

DEBRA A LAMONDA
74 CARMICHAEL ST APT E
PRESQUE ISLE ME 04769

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: .
Kevin J Crosman, Esq.
Jensen Baird Gardner & Henry,
Ten Free Street,
P.O. Box 4510,
Portland, ME 04112-4510

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: 04/29/2025

Christa K. Berry
Clerk, U.S. District Court
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- Case 1:25-cv-00196-JAW Document3 _ Filed 04/29/25 Page2of2 PagelD#: 45

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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any) db a b re lawn f “
was received by me on (date) os Ls ox /2. o7s

© I personally served the summons on the individual at (place)

on (date)

3 OF

M1 left the summons at the individual’s residence or usual place of abode with (name) Dome [ A lamenda.
. , a person of suitable age and discretion who resides there,

on (date) OS, 7 13 } 2UZ$ , and mailed a copy to the individual’s last known address; or

O Iserved the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; Or

I returned the summons unexecuted because ; or

O Other (specify):

6.6/
My fees are $ G SS  fortravel and $ 70.06 for services, for a total of $ ? _1.00-

I declare under penalty of perjury that this information is true.

Date: 05 [;3 )eoes 64 =—=—=

Server's signature

Depely Kyo J; Deuslty

‘ed name and title

Hilt, PE 34730

Server's address

Additional information regarding attempted service, etc:
